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ALSO ADMITTED IN NEW JERSEY                      September 21, 2021
Hon. Glenn T. Suddaby
James T. Foley U.S. Courthouse
P.O. Box 7367
Syracuse, NY 13261-7367

                         In Re: Vira Tiffiany Hope, et al. v. Connie Kieltyka, C.N.M., et. al.
                                Civil Action No. 1:21-cv-00691-GTS-ML
Dear Judge Suddaby:

        We are writing with regards to the above case to inform the Court that the infant plaintiff
K.A.H. passed away on August 14, 2021. Enclosed please find a copy of the child’s death
certificate, which we recently obtained.

         We have begun the process of obtaining Letters of Administration for Vira Hope and are
working on obtaining the documents necessary to apply to the Surrogate’s Court for such letters
so that she can be the representative plaintiff for the Estate of K.A.H. and so we can continue the
litigation, further amend the Complaint, and continue providing authorizations. The parties will
likely need an extension of discovery while we work on obtaining the Letters.

         Please contact me if the Court has any questions or requires any additional information.

                                                    Respectfully submitted,


                                           By:      ____________________________
                                                    Christopher M. Nyberg
                                                    The Jacob D. Fuchsberg Law Firm
                                                    3 Park Avenue, 37th Floor
                                                    New York, NY 10016
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CC: Carol Poles (via ECF)
    Cathleen B. Clark (via ECF)
    Kathryn Collins (via ECF)
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